Case 8:19-cr-00279-CEH-TGW Document11 Filed 07/08/19 Page 1 of 1 PageID 13

AO 442 (Rev. 11/11) Arrest Warrant KE ©
19», ARSED

 

 

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UNITED STATES DISTRICT COURT Mp MN 3 My
for the Ne Me, AH Wp. 5
fn.
Middle District of Florida TA hyo! Log, 4
‘ , De
United States of America
v. ) ' -T— Ww
) Case No. & LATS {- 274 T 3616
ANGELMIRO SALAS-RENTERIA )
) =
) BO Rm
) on =
Defendant Bos cj.
maa OSS
way" om 35
ARREST WARRANT aBe ob =
on7mD
To: Any authorized law enforcement officer = 25 = G
EMO
oe

(name of person to be arrested)
who is accused of an offense or violation based on the following document filed with the court:

wo Indictment
© Probation Violation Petition

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge withGecunnsgessary delay
= wo
ANGELMIRO SALAS-RENTERIA > ,

 

C} Complaint

© Superseding Information
O Order of the Court

O Information
O Violation Notice

© Superseding Indictment
© Supervised Release Violation Petition

This offense is briefly described as follows:

Conspiracy with intent to distribute five (5) kilograms or more of cocaine while on board a vessel subject to the jurisdiction
of the United States, and possession with intent to distribute five (5) kilograms or more of cocaine, while on board a vessel

subject to the jurisdiction of the United States.
In violation of: 46 U.S.C. §§ 70503(a) and 70506(a) and (b)

Date: [| | | | (1D. BeLwnpA
U Issuing officer's signature

 

 

 

 

City and state: _ Tampa, Florida ELIZABETH WARREN, Clerk, United States District Court
Printed name and title
Return

 

 

This warrant was received on (date) “] { 3| uf , and the person was arrested on (date) _ )/ IT

at (city and state)
pate: 2] 114 aA
OO ae" SF Arresting officer's signature
yapole Ctr Han
Printed name and title

 

 

 

 

 
